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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                              www.flsb.uscourts.gov
                                                  CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                               Original Plan

                       0    FIRST                                     Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                      Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Luis Gutierrez                                    JOINT DEBTOR:                                        CASE NO.: 21-15712-AJC
SS#: xxx-aoc- 8789                                         SS#: xxx-xx
I.      NOTICES
            To Debtors:          Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                                 and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                                 Local Rules 2002-1 (C)(5), 3015-l(B)(2), and 3015-2., Debtor(s) must commence plan payments within 30 days of
                                 filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                               ❑    Included            ■   Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                               ❑    Included            ■   Not included
  out in Section1II
  Nonstandard provisions, set out in Section IX                                                                ❑    Included            ■   Not included
II.        PLAN PAYMENTS. LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

           A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
              fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
              amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                  1.   $168.75               for months     1       to 60 ;

           B. DEBTOR(S)' ATTORNEY'S FEE:                                          ❑ NONE         ❑ PRO BONO
        Total Fees:              $7,400.00            Total Paid:             $1,187.00            Balance Due:         $6,213.00
        Payable             $151.87          /month (Months 1         to 40 )
        Payable             $138.20          /month (Months 41 to 41 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        Fee Application: $7,400.00

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.       TREATMENT OF SECURED CLAIMS                          ❑ NONE
           A. SECURED CLAIMS:                ❑■ NONE
           B. VALUATION OF COLLATERAL: ❑■ NONE
           C. LIEN AVOIDANCE                  NONE
           D. SURRENDER OF COLLATERAL:                          0   NONE
           E. DIRECT PAYMENTS                 ❑     NONE
           Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution fom the Chapter 13 Trustee.
               ❑j The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                    confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                    codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                       Name of Creditor              - Ladt 4 Digits of Account No. )Description of Collateral (Address. Vehicle, etc.)
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                                                                          Debtor(s): Luis Gutierrez                           Case number: 21-15712-AJC
                         Name of Creditor               Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.)
                         Capital One Auto Finance       7084                         2016 Lexus GX460
                    1.
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)] ❑ NONE
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: ❑t NONE
            B. INTERNAL REVENUE SERVICE:                    0     NONE
            C. DOMESTIC SUPPORT OBLIGATION(S): ❑ NONE                                      ❑i CURRENT AND PAID OUTSIDE
               1. Name of Creditor: Kristy Vega-Gutierrez
               Payment Address: 2682 W 70th Place, Hialeah, FL 33016

               Total Due:
                  Payable        $0.00     /month (Months          to       )
                  Regular Payemnt (if applicable)         $0.00         /month (Months          to    )

            D. OTHER: j          NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS                                         ❑ NONE
               A. Pay          $13.67        /month (Months 41           to 41 )
                    Pay       $151.87        /month (Months 42           to 60 )
                    Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B. ❑ If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                 ❑t NONE
VL          STUDENT LOAN PROGRAM                    0   NONE
VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES ❑ NONE
     Secured claims filed by any creditor/lessor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                  Unless provided for under a separate section, the debtor(s) request that upon confirmation of this plan, the automatic stay be
                  terminated in rem as to the debtor(s) and in rem and in personam as to any codebtor(s) as to these creditors/lessors. Nothing
                  herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

                 Name of Creditor                     Collateral                                 Acct. No. (Last 4 Digits) Assume/Reject
                 Invitation Homes                   . 2619 West 70 Place, Hialeah, FL
            1.                                                                                                            0    Assume ❑ Reject
VIII.       INCOME TAX RETURNS AND REFUNDS: ❑i NONE
IX.         NON-STANDARD PLAN PROVISIONS❑ NONE




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                                                                   Debtor(s): Luis Gutierrez                   Case number: 21-15712AJC


                        PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                        Debtor                                                          Joint Debtor
  Luis utierrez                                           Date                                                              Date



  Is/ Jose A. Blanco, Esq.                   September 28, 2021
    Attorney with permission to sign on                Date
              Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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